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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 TEXTILE COMPUTER SYSTEMS, INC.,
                                                        CIVIL ACTION NO. 6:21-cv-1054
       Plaintiff,
                                                        ORIGINAL COMPLAINT FOR
         v.                                             PATENT INFRINGEMENT

 INDEPENDENT BANK,                                      JURY TRIAL DEMANDED


       Defendant.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Textile Computer Systems, Inc. (“Textile” or “Plaintiff”) files this original

complaint against Defendant Independent Bank (“Independent Bank”), alleging, based on its

own knowledge as to itself and its own actions and based on information and belief as to all other

matters, as follows:

                                              PARTIES

        1.      Textile Computer Systems, Inc. is a corporation formed under the laws of the

State of Texas, with a place of business at 618 Bluff Trail, San Antonio, Texas, 78216.

        2.      Independent Bank is a bank duly organized and existing under the laws of Texas.

Independent Bank has places of business in Waco, Texas and Austin, Texas.

        3.      Independent Bank and its affiliates lead and are part of an interrelated group of

companies which together comprise one of the country’s largest banking and financial service

entities, including under the Independent Bank brand.

        4.      Independent Bank and its affiliates are part of the same corporate structure for the

making, offering, and using of the accused instrumentalities in the United States, including in the

State of Texas generally and this judicial district in particular.
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       5.      Independent Bank and its affiliates have common ownership and share advertising

platforms, facilities, systems, and platforms, and accused instrumentalities and instrumentalities

involving related technologies.

       6.      Independent Bank and its affiliates regularly contract with customers and other

financial institutions and payment networks regarding equipment or services that will be

provided by their affiliates on their behalf.

       7.      Thus, Independent Bank and its affiliates operate as a unitary business venture

and are jointly and severally liable for the acts of patent infringement alleged herein.

                                  JURISDICTION AND VENUE

       8.      This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       9.      This Court has personal jurisdiction over Independent Bank pursuant to due

process and/or the Texas Long Arm Statute because, inter alia, (i) Independent Bank has done

and continues to do business in Texas; and (ii) Independent Bank has committed and continues

to commit acts of patent infringement in the State of Texas, including making and/or using the

accused instrumentality in Texas, including by Internet and via branch offices and other branch

locations, inducing others to commit acts of patent infringement in Texas, and/or committing a

least a portion of any other infringements alleged herein.

       10.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is further

proper because Independent Bank has committed and continues to commit acts of patent

infringement in this district. For example, Independent Bank cardholders are issued debit and/or

credit cards, and through using those debit and/or credit cards with certain digital payment



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systems, those cardholders make and/or use the accused instrumentalities in the district.

Independent Bank induces others to commit acts of patent infringement in Texas, and/or commit

at least a portion of any other infringements alleged herein in this district. Independent Bank has

regular and established places of business in this district, including at least at 8004 Woodway

Drive, Suite 200, Waco, Texas 76712, at 1011 W. 40th Street, Suite 100, Austin, Texas 78756,

and at numerous other locations in Waco and Austin:




(Source: https://locations.ifinancial.com/search?q=30.267153%2C-
97.7430608&type=location&qp=Austin%2C%20TX%2C%20USA&r=10&l=en)




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(Source: screenshot from Google Maps Street View)




(Source: https://locations.ifinancial.com/search?q=31.549333%2C-
97.1466695&type=location&qp=Waco%2C%20TX%2C%20USA&r=10&l=en)




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(Source: screenshot from Google Maps Street View)

                                        BACKGROUND

       11.     The patents-in-suit generally pertain to payment authorization technology used in

payment networks used to process transactions from, for example, credit cards and debit cards.

The technology disclosed by the patents was developed by Gopal Nandakumar, a Texas-based

entrepreneur, software engineer, and prolific inventor with over 30 years of experience in the

field of Information Management Systems.

       12.     In 1987, after receiving Master’s Degrees from both the University of Madras,

India and the Georgia Institute of Technology, Mr. Nandakumar formed Textile Computer

Systems, Inc. (“Textile”) for the purpose of consulting and developing software for the textile

industry. In 2005, Textile began transitioning into credit card transaction systems. In 2011,

Textile began to develop and market the MySingleLink suite of applications.

       13.     The Nandakumar patents are related to payment authorization technology. Mr.

Nandakumar has been at the forefront of payment authorization, developing, disclosing, and

patenting solutions for reducing fraud in credit and debit card transactions. Indeed, the

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Nandakumar patents (or the applications leading to them) have been cited during patent

prosecution over a hundred times, including by numerous leading companies in the payment

authorization industry such as ADP, Bank of America, Google, Groupon, IBM, Mastercard,

NEC, Paypal, Visa, and Wells Fargo.

                                     THE TECHNOLOGY

       14.     The patents-in-suit, U.S. Patent Nos. 8,505,079, 8,533,802, 9,584,499,

10,148,659, and 10,560,454 (collectively, the “Asserted Patents”), teach systems, including

payment processing systems, for securely and effectively approving and processing specific

credit card and/or debit card transactions. Through the specific use of servers, messaging

gateways, and/or interfaces, these systems act to reduce credit card and/or debit card fraud and

misuse through their use and validation of key strings, authentication credentials, transaction

specific information, and transaction specific credentials. The technology in the Asserted Patents

improves the underlying functionality of existing card processing infrastructure by minimizing

fraud and data theft in the face of attacks on payment systems that continue to grow in their

number and sophistication.

       15.     The patented improvements are critical for implementing secure payment

systems, especially in light of the many high-profile merchant data breaches that have lead to

increased credit and debit card fraud. For example, in 2006, TJX Companies, who owns retailers

like TJMaxx and Marshall’s, was hit with a cyber attack that resulted in the theft of credit cards

leading to over $100 million in fraud losses. In 2013, five people were indicted for attacking a

number of retailers and financial institutions including NASDAQ, 7-Eleven, JCP, and others,

stealing over 160 million cards. Also in 2013, the retailer Target suffered a data breach that

resulted in 40 million debit and credit cards being compromised.



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       16.     One implementation of the technology claimed in the Asserted Patents has been

described by EMVCo as “a global Payment Tokenisation ecosystem that overlays and

interoperates with existing payment ecosystems to support digital commerce and new methods of

payment” and as “enhanc[ing] the underlying security of digital payments by potentially limiting

the risk typically associated with compromised, unauthorized or fraudulent use of PANs.”

(Source: https://www.emvco.com/emv-technologies/payment-tokenisation/).

       17.     The technology claimed in the Asserted Patents is far from conventional

technology. The payment industry gathered and consulted experts who worked together over a

number of years to develop infringing payment tokenisation systems. In other words, the

technology claimed in the Asserted Patents was not existing or conventional technology that the

payment industry had sitting on the shelf.

       18.     Indeed, as recently as February of this year, EMVCo itself recognized that an

implementation of the technology claimed in the Asserted Patents “provides a technology

solution for protecting the PAN and securing digital and online payments”:




(Source: https://www.emvco.com/wp-content/uploads/documents/Quick-Resource_How-EMV-

Specifications-Support-Online-Commerce.pdf)


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       19.     That same EMVCo document notes that “In today’s connected world, protecting

data can be challenging. A particularly sensitive piece of payment data when shopping online is

the primary account number (PAN) – the number on payment cards that is used to make

purchases” and that EMVCo’s payment tokenization “enhances the underlying security of digital

and online payments by limiting the risk of the PAN being compromised or used fraudulently /

without authorization.” The document also states that the “Payment Tokenisation Specification

provides an interoperable Technical Framework.” (Source: https://www.emvco.com/wp-

content/uploads/documents/Quick-Resource_How-EMV-Specifications-Support-Online-

Commerce.pdf)

       20.     One of the asserted patents, the 079 Patent, was challenged in an Inter Partes

Review proceeding before the Patent and Trademark Office (“PTO”). The PTO found that the

challenger, Unified Patents Inc., was unable to show that one element, the “key string” as

claimed in the 079 Patent claims and as construed by the PTO, was in the prior art at all, much

less it being conventional or widespread. The PTO thus confirmed the patentability of all

challenged claims of the 079 Patent.

                                             COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 8,505,079

       21.     On August 6, 2013, United States Patent No. 8,505,079 (“the 079 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Authentication System and Related Method.”

       22.     Textile is the owner of the 079 Patent, with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the 079 Patent

against infringers, and to collect damages for all relevant times.



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         23.    Independent Bank offers debit and/or credit cards, such as the Independent Bank

Visa Platinum Card, that are used with an authentication system that authenticates the identity of

an Independent Bank card holder in a request to pay a merchant for a transaction (the “Accused

Instrumentality”). The Independent Bank card authentication system is implemented, in part, via

EMVCo compliant tokens that are used in the transaction instead of the user’s debit and/or credit

card number so that the user’s debit and/or credit card number is never transmitted or otherwise

provided to the merchant thereby preventing the user’s debit and/or credit card number from

being deliberately or unintentionally transferred from the merchant to a third-party such as

through hacking, spoofing, or other man-in-the-middle vulnerabilities, for example. The

requests are initiated by account holders via their smartphones, typically at an NFC (near field

communication) merchant terminal and use those tokens, which are generated and communicated

to the user’s smartphone by the system, and wherein each account held by the user has its own

token.




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(Source: https://www.independent-bank.com/personal/account-services/mobile-wallet.html)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)

       24.     The Accused Instrumentality includes an authentication system for authenticating

the identity of a requester of access by an unauthorized service client to a secured resource. For

example, an Independent Bank account holder requests Independent Bank to provision a specific

Independent Bank debit and/or credit card for use on his or her mobile device. The account

holder can then request for payment to be made to a specific merchant in a specific amount for a

specific transaction from a specific Independent Bank card account of the account holder using

his or her smartphone when near the NFC merchant terminal at a checkout counter. In initiating

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the request, the account holder’s smartphone receives certain transaction specific information

from the merchant terminal, which is incorporated into a cryptogram generated by the

smartphone that it transmits to the merchant’s terminal, along with the token value, for

forwarding to a messaging gateway. The merchant also inputs into the request the token value

that was transmitted from the user’s smartphone to the merchant’s terminal using NFC. Thus, the

request messages will include both the transaction specific cryptogram as well as token and

transaction specific information sent, some of which was used in making the cryptogram.

       25.      The Accused Instrumentality comprises a messaging gateway having a first set of

instructions embodied in a computer readable medium, said first set of instructions operable to

receive from a requester purporting to be an authorized user of a secured resource a request for

access by an unauthorized service client to said secured resource. For example, the Accused

Instrumentality includes a messaging gateway that is programmed to receive requests initiated by

Independent Bank card account holders for provisioning a specific Independent Bank debit

and/or credit card for use on their mobile devices. The messaging gateway is also programmed

to receive requests initiated by Independent Bank card account holders for payment to be made

to a specific merchant in a specific amount for a specific transaction from a specific Independent

Bank card account of the account holder. This messaging gateway is either hosted directly by

Independent Bank or through an agent with whom Independent Bank has contracted to receive

the messages.

       26.      The Accused Instrumentality includes a server in secure communication with said

messaging gateway, said server having a second set of instructions embodied in a computer

readable medium operable to determine a key string known to both said secured resource and the

authorized user said requestor purports to be, said key string being adapted to provide a basis for



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authenticating the identity of said requester. For example, behind the firewall of the messaging

gateway and in secure communication therewith is an authorization server that processes the

received request to identify the token value sent for the account selected to be charged that was

passed from the authorized user to the merchant terminal via the NFC communication link.

From the token value, the server can look up the debit and/or credit card account number. The

authorization server is either hosted directly by Independent Bank or through an agent with

whom Independent Bank has contracted to provide the authentication services.

       27.     The Accused Instrumentality includes a service user interface in communication

with said server, said service user interface having a third set of instructions embodied in a

computer readable medium operable to receive input from said unauthorized service client. For

example, the authorization server includes an interface with programming instructions to also

receive within the payment authorization request transaction specific information that was input

into the request by the merchant. The interface is either hosted directly by Independent Bank or

through an agent with whom Independent Bank has contracted to provide the authentication

services.

       28.     The Accused Instrumentality includes a second set of instructions further operable

to receive an authentication credential from said unauthorized service client associated with said

request for access, said authentication credential having been provided to said unauthorized

service client by said requester. For example, the authorization server is also programmed to

identify within the payment authorization request the cryptogram that was passed by the user to

the merchant and the authorization server will use the cryptogram to authenticate that the request

originated with the actual account holder.




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       29.     The Accused Instrumentality includes a second set of instructions further operable

to evaluate said authentication credential to authenticate the identity of said requestor. For

example, the authorization server uses the token value and other transaction information received

to evaluate the cryptogram. If the cryptogram is valid, the authorization server authenticates the

identity of requestor as the actual account holder.

       30.     Moreover, Plaintiff alleges that each of these elements are present in the Accused

Instrumentality either literally or under the doctrine of equivalents if anywhere determined not to

be literally present. For example, if a function literally claimed to be performed by a given

element, such as a particular server or set of instructions, is conducted in the accused system by

another server or another set of instructions, Plaintiff alleges that this would be an infringement

under the doctrine of equivalents because the two would be substantially the same and would be

performing the same function in the same way to arrive at the same result.

       31.     Defendants thus infringe one or more of the claims of the 079 Patent. For

example, the elements and conduct described herein are covered by and infringe upon at least

Claim 1 of the 079 Patent. Thus, Defendant’s use, manufacture, sale, and/or offer for sale of the

Accused Instrumentality is enabled by the system described in the 079 Patent.

       32.     Independent Bank has directly infringed and continues to directly infringe (either

literally or under the doctrine of equivalents) at least Claim 1 of the 079 Patent, in violation of 35

U.S.C. § 271(a), by making, using, offering for sale, and/or selling the Accused Instrumentality

without authority in the United States and will continue to do so unless enjoined by this Court.

       33.     Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 1 of the 079 Patent, in

violation of 35 U.S.C. § 271(b), by actively inducing the infringement of the 079 Patent by



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others and Independent Bank will continue to do so unless enjoined by this Court. Independent

Bank’s deliberate and/or willfully blind actions include, but are not limited to, actively marketing

to, supplying, causing the supply to, encouraging, recruiting, and instructing others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers to use, make available for another’s use, promote, market, distribute, import, sell

and/or offer to sell the Accused Instrumentality. These actions, individually and/or collectively,

have induced and continue to induce the direct infringement of the 079 Patent by others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers. Independent Bank knew and/or was willfully blind to the fact that the induced

parties’ use, making available for another’s use, promotion, marketing, distributing, importing,

selling and/or offering to sell the Accused Instrumentality would infringe the 079 Patent.

       34.     Independent Bank continues to make, use, make available for another’s use, or

sell or offer to sell, the Accused Instrumentality, and/or continues to induce others such as

consumers, businesses, distributors, agents, sales representatives, account holders, end users and

customers to infringe one or more claims of the 079 Patent.

       35.     Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 1 of the 079 Patent, in

violation of 35 U.S.C. § 271(c), by contributing to the direct infringement of the 079 Patent by

others, such as consumers, businesses, distributors, agents, sales representatives, end-users,

account holders and customers, by offering to sell or selling within the United States the Accused

Instrumentality which is a component of a patented machine, manufacture, combination, or

composition, or a material or apparatus for use in practicing a patented process, constituting a

material part of the invention, knowing the same to be especially made or especially adapted for



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use in an infringement of such patent, and not a staple article or commodity of commerce

suitable for substantial non-infringing use.

       36.       Independent Bank has committed these acts of infringement without license or

authorization.

       37.       By engaging in the conduct described herein, Independent Bank has caused injury

to Textile and Textile has been damaged and continues to be damaged as result thereof and

Independent Bank is thus liable to Textile for infringement of the 079 Patent, pursuant to 35

U.S.C. § 271.

       38.       As a direct and proximate result of Independent Bank’s infringement of the 079

Patent, Textile has suffered monetary damages and is entitled to a monetary judgment in an

amount adequate to compensate Textile for Independent Bank’s past infringement pursuant to 35

U.S.C. § 284, but in no event less than a reasonable royalty, together with interest and costs.

       39.       In addition, the infringing acts and practices of Independent Bank have caused,

are causing, and, unless such acts or practices are enjoined by the Court, will continue to cause

immediate and irreparable harm and damage to Textile for which there is no adequate remedy at

law, and for which Independent Bank is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

As such, Textile is entitled to compensation for any continuing and/or future infringement up

until the date that Independent Bank is finally and permanently enjoined from further

infringement.

       40.       Independent Bank has had actual knowledge of the 079 Patent at least as of the

date when it was notified of the filing of this action. By the time of trial, Independent Bank will

have known and intended (since receiving such notice) that its continued actions would infringe

and actively induce and contribute to the infringement of one or more claims of the 079 Patent.



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       41.     Independent Bank has also indirectly and willfully infringed, and continues to

indirectly and willfully infringe, the 079 Patent, as explained further below in the “Additional

Allegations Regarding Infringement” section.

       42.     Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       43.     Textile is entitled to collect pre-filing damages for the full period allowed by law

for infringement of the 079 Patent.

                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 8,533,802

       44.     On September 10, 2013, United States Patent No. 8,533,802 (“the 802 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Authentication System and Related Method.”

       45.     Textile is the owner of the 802 Patent, with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the 802 Patent

against infringers, and to collect damages for all relevant times.

       46.     Independent Bank offers debit and/or credit cards, such as the Independent Bank

Visa Platinum Card, that are used with an authentication system that authenticates the identity of

an Independent Bank card holder in a request to pay a merchant for a transaction (the “Accused

Instrumentality”). The Independent Bank card authentication system is implemented, in part, via

EMVCo compliant tokens that are used in the transaction instead of the user’s debit and/or credit

card number so that the user’s debit and/or credit card number is never transmitted or otherwise



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provided to the merchant thereby preventing the user’s debit and/or credit card number from

being deliberately or unintentionally transferred from the merchant to a third-party such as

through hacking, spoofing, or other man-in-the-middle vulnerabilities. The requests are initiated

by account holders via their smartphones, typically at an NFC (near field communication)

merchant terminal and use those tokens, which are generated and communicated to the user’s

smartphone by the system, and wherein each account held by the user has its own token.




(Source: https://www.independent-bank.com/personal/account-services/mobile-wallet.html)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)

       47.     The Accused Instrumentality includes an authentication system for authenticating

the identity of a requester of access by an unauthorized service client to a secured resource. For

example, an Independent Bank account holder requests Independent Bank to provision a specific

Independent Bank debit and/or credit card for use on his or her mobile device. The account

holder can then request for payment to be made to a specific merchant in a specific amount for a

specific transaction from a specific Independent Bank card account of the account holder using

his or her smartphone when near the NFC merchant terminal at a checkout counter. In initiating

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the request, the account holder’s smartphone receives certain transaction specific information

from the merchant terminal, which is incorporated into a cryptogram generated by the

smartphone that it transmits to the merchant’s terminal, along with the token value, for

forwarding to a messaging gateway. The merchant also inputs into the request the token value

that was transmitted from the user’s smartphone to the merchant’s terminal using NFC. Thus, the

request messages will include both the transaction specific cryptogram as well as token and

transaction specific information sent, some of which was used in making the cryptogram.

       48.     The Accused Instrumentality comprises a messaging gateway having a first set of

instructions embodied in a computer readable medium, said first set of instructions operable to

receive from a requester purporting to be an authorized user of a secured resource a request for

access by an unauthorized service client to said secured resource. For example, the Accused

Instrumentality includes a messaging gateway that is programmed to receive requests initiated by

Independent Bank card account holders for provisioning a specific Independent Bank debit

and/or credit card for use on their mobile devices. This messaging gateway is either hosted

directly by Independent Bank or through an agent with whom Independent Bank has contracted

to receive the messages.

       49.     The Accused Instrumentality includes a server in secure communication with said

messaging gateway, said server having a second set of instructions embodied in a computer

readable medium operable to generate a key string adapted to provide a basis for authenticating

the identity of said requester. For example, behind the firewall of the message gateway and in

secure communication therewith is an authorization server that generates a token corresponding

to the debit and/or credit card account number. The authorization server is either hosted directly




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by Independent Bank or through an agent with whom Independent Bank has contracted to

provide the authentication services.

       50.     The Accused Instrumentality includes a service user interface in communication

with said server, said service user interface having a third set of instructions embodied in a

computer readable medium operable to receive input from said unauthorized service client. For

example, the authorization server includes an interface with programming instructions to also

receive transaction specific information that was input into the request by the merchant, e.g., the

merchant ID, invoice number, invoice amount, and date/timestamp. The interface is either

hosted directly by Independent Bank or through an agent with whom Independent Bank has

contracted to provide the authentication services.

       51.     The Accused Instrumentality includes a first set of instructions further operable to

communicate the key string to the authorized user that the requester purports to be. For example,

the messaging gateway sends the generated token to the authorized user’s mobile device for use

in merchant transactions.

       52.     The Accused Instrumentality includes a second set of instructions further operable

to receive an authentication credential from said unauthorized service client, said authentication

credential having been provided to said unauthorized service client by said requester. For

example, the authorization server is also programmed to identify within the payment

authorization request the cryptogram that was passed by the user to the merchant and the

authorization server will use the cryptogram to authenticate that the request originated with the

actual account holder.

       53.     The Accused Instrumentality includes a second set of instructions further operable

to evaluate said authentication credential to authenticate the identity of said requestor. For



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example, the authorization server uses the token value and other transaction information received

to evaluate the cryptogram. If the cryptogram is valid, the authorization server authenticates the

identity of requestor as the actual account holder.

       54.       Moreover, Plaintiff alleges that each of these elements are present in the Accused

Instrumentality either literally or under the doctrine of equivalents if anywhere determined not to

be literally present. For example, if a function literally claimed to be performed by a given

element, such as a particular server or set of instructions, is conducted in the accused system by

another server or another set of instructions, Plaintiff alleges that this would be an infringement

under the doctrine of equivalents because the two would be substantially the same and would be

performing the same function in the same way to arrive at the same result.

       55.       Defendants thus infringe one or more claims of the 802 Patent. For example, the

elements and conduct described herein are covered by and infringe upon at least Claim 1 of the

802 Patent. Thus, Defendant’s use, manufacture, sale, and/or offer for sale of the Accused

Instrumentality is enabled by the system described in the 802 Patents.

       56.       Independent Bank has directly infringed and continues to directly infringe (either

literally or under the doctrine of equivalents) at least Claim 1 of the 802 Patent, in violation of 35

U.S.C. § 271(a), by making, using, importing, offering for sale, and/or selling the Accused

Instrumentality without authority in the United States and will continue to do so unless enjoined

by this Court.

       57.       Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 1 of the 802 Patent, in

violation of 35 U.S.C. § 271(b), by actively inducing the infringement of the 802 Patent by

others and Independent Bank will continue to do so unless enjoined by this Court. Independent



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Bank’s deliberate and/or willfully blind actions include, but are not limited to, actively marketing

to, supplying, causing the supply to, encouraging, recruiting, and instructing others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers to use, make available for another’s use, promote, market, distribute, import, sell

and/or offer to sell the Accused Instrumentality. These actions, individually and/or collectively,

have induced and continue to induce the direct infringement of the 802 Patent by others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers. Independent Bank knew and/or was willfully blind to the fact that the induced

parties’ use, making available for another’s use, promotion, marketing, distributing, importing,

selling and/or offering to sell the Accused Instrumentality would infringe the 802 Patent.

       58.     Independent Bank continues to make, use, make available for another’s use, or

sell or offer to sell, the Accused Instrumentality, and/or continues to induce others such as

consumers, businesses, distributors, agents, sales representatives, account holders, end users and

customers to infringe one or more claims of the 802 Patent.

       59.     Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 1 of the 802 Patent, in

violation of 35 U.S.C. § 271(c), by contributing to the direct infringement of the 802 Patent by

others, such as consumers, businesses, distributors, agents, sales representatives, end-users,

account holders and customers, by offering to sell or selling within the United States the Accused

Instrumentality which is a component of a patented machine, manufacture, combination, or

composition, or a material or apparatus for use in practicing a patented process, constituting a

material part of the invention, knowing the same to be especially made or especially adapted for




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use in an infringement of such patent, and not a staple article or commodity of commerce

suitable for substantial non-infringing use.

       60.       Independent Bank has committed these acts of infringement without license or

authorization.

       61.       By engaging in the conduct described herein, Independent Bank has caused injury

to Textile and Textile has been damaged and continues to be damaged as result thereof and

Independent Bank is thus liable to Textile for infringement of the 802 Patent, pursuant to 35

U.S.C. § 271.

       62.       As a direct and proximate result of Independent Bank’s infringement of the 802

Patent, Textile has suffered monetary damages and is entitled to a monetary judgment in an

amount adequate to compensate Textile for Independent Bank’s past infringement pursuant to 35

U.S.C. § 284, but in no event less than a reasonable royalty, together with interest and costs.

       63.       In addition, the infringing acts and practices of Independent Bank have caused,

are causing, and, unless such acts or practices are enjoined by the Court, will continue to cause

immediate and irreparable harm and damage to Textile for which there is no adequate remedy at

law, and for which Independent Bank is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

As such, Textile is entitled to compensation for any continuing and/or future infringement up

until the date that Independent Bank is finally and permanently enjoined from further

infringement.

       64.       Independent Bank has had actual knowledge of the 802 Patent at least as of the

date when it was notified of the filing of this action. By the time of trial, Independent Bank will

have known and intended (since receiving such notice) that its continued actions would infringe

and actively induce and contribute to the infringement of one or more claims of the 802 Patent.



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       65.     Independent Bank has also indirectly and willfully infringed, and continues to

indirectly and willfully infringe, the 802 Patent, as explained further below in the “Additional

Allegations Regarding Infringement” section.

       66.     Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       67.     Textile is entitled to collect pre-filing damages for the full period allowed by law

for infringement of the 802 Patent.

                                            COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 9,584,499

       68.     On February 28, 2017, United States Patent No. 9,584,499 (“the 499 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Authentication System and Method.”

       69.     Textile is the owner of the 499 Patent, with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the 499 Patent

against infringers, and to collect damages for all relevant times.

       70.     Independent Bank offers debit and/or credit cards, such as the Independent Bank

Visa Platinum Card, that are used by Independent Bank in practicing a method for authorizing

transaction specific access to a secured resource having a secured resource identity (the

“Accused Instrumentality”). The Independent Bank transaction-specific access authorization

system is implemented, in part, via EMVCo compliant tokens that are used in the transaction

instead of the user’s debit and/or credit card number so that the user’s debit and/or credit card



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number is never transmitted or otherwise provided to the merchant thereby preventing the user’s

debit and/or credit card number from being deliberately or unintentionally transferred from the

merchant to a third-party such as through hacking, spoofing, or other man-in-the-middle

vulnerabilities. The requests are initiated by account holders via their smartphones, typically at

an NFC (near field communication) merchant terminal and use those tokens, which are generated

and communicated to the user’s smartphone by the system, and wherein each account held by the

user has its own token.




(Source: https://www.independent-bank.com/personal/account-services/mobile-wallet.html)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)

       71.     Independent Bank’s use of the Accused Instrumentality includes a method for

authorizing transaction specific access to a secured resource having a secured resource identity.

For example, an Independent Bank account holder requests Independent Bank to provision a

specific Independent Bank debit and/or credit card for use on his or her mobile device. The

account holder can then request for payment to be made to a specific merchant in a specific

amount for a specific transaction from a specific Independent Bank card account of the account

holder using his or her smartphone when near the NFC merchant terminal at a checkout counter.

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In initiating the request, the account holder’s smartphone receives certain transaction specific

information from the merchant terminal, which is incorporated into a cryptogram generated by

the smartphone that it transmits to the merchant’s terminal, along with the token value, for

forwarding to a messaging gateway. The merchant also inputs into the request the token value

that was transmitted from the user’s smartphone to the merchant’s terminal using NFC. Thus, the

request messages will include both the transaction specific cryptogram as well as token and

transaction specific information sent that was used in making the cryptogram.

       72.     The Accused Instrumentality includes receiving at a messaging gateway having a

first set of instructions embodied in a computer readable medium, said first set of instructions

operable to receive a request for transaction specific access to a secured resource by a service

client. For example, the Accused Instrumentality includes a messaging gateway that is

programmed to receive requests initiated by Independent Bank card account holders for payment

to be made to a specific merchant in a specific amount for a specific transaction from a specific

Independent Bank card account of the account holder. This messaging gateway is either hosted

directly by Independent Bank or through an agent with whom Independent Bank has contracted

to receive the messages.

       73.     The Accused Instrumentality includes generating a key string with a server in

communication with said messaging gateway, said server having a second set of instructions

embodied in a computer readable medium operable to generate the key string known to both said

server and an authorized user of the secured resource, said key string being associated with the

secured resource within a key string table accessible by the server and providing a basis for

authenticating the secured resource identity by searching the key string table for the key string.

For example, behind the firewall of the messaging gateway and in communication therewith is



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an authorization server that generates a token corresponding to a secured resource during the

provisioning process. After this, the authorization server updates a table that maps token

numbers to secured resource identities. The authorization server is then able to search the table

to authenticate a secured resource identity by searching the table for the token. If the token has a

corresponding secured resource identity, that identity is authenticated. The authorization server

is either hosted directly by Independent Bank or through an agent with whom Independent Bank

has contracted to provide the authentication services.

       74.     The Accused Instrumentality includes determining transaction specific

information with the server in communication with the messaging gateway, the server having a

third set of instructions embodied in a computer readable medium operable to identify

transaction specific information within the request. For example, the authorization server is also

programmed to identify within the payment authorization request transaction specific

information that was passed by the merchant. The authorization server is either hosted directly

by Independent Bank or through an agent with whom Independent Bank has contracted to

provide the authentication services.

       75.     The Accused Instrumentality includes communicating said key string to said

authorized user. For example, once the provisioning process is complete, the messaging gateway

and/or the server send the token to the authorized user’s mobile device. The messaging gateway

is either hosted directly by Independent Bank or through an agent with whom Independent Bank

has contracted to provide the authentication services. The authorization server is either hosted

directly by Independent Bank or through an agent with whom Independent Bank has contracted

to provide the authentication services.




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       76.     The Accused Instrumentality includes receiving an authentication credential from

said service client, said authentication credential having been provided to said service client by

said authorized user. For example, the authorization server is also programmed to identify within

the payment authorization request the cryptogram that was passed by the user to the merchant.

The authorization server is either hosted directly by Independent Bank or through an agent with

whom Independent Bank has contracted to provide the authentication services.

       77.     The Accused Instrumentality includes evaluating said authentication credential.

For example, the authorization server uses the token value and other transaction information

received to evaluate the cryptogram. If the cryptogram is valid, the authorization server

authorizes the transaction specific access. The authorization server is either hosted directly by

Independent Bank or through an agent with whom Independent Bank has contracted to provide

the authentication services.

       78.     The Accused Instrumentality includes wherein the key string and authentication

credential do not reveal any primary identifier associated with said secured resource. For

example, neither the token nor the cryptogram reveals the debit and/or credit card number

associated with the secured resource.

       79.     Moreover, Plaintiff alleges that each of these elements are present in the Accused

Instrumentality either literally or under the doctrine of equivalents if anywhere determined not to

be literally present. For example, if a function literally claimed to be performed by a given

element, such as a particular server or set of instructions, is conducted in the accused system by

another server or another set of instructions, Plaintiff alleges that this would be an infringement

under the doctrine of equivalents because the two would be substantially the same and would be

performing the same function in the same way to arrive at the same result.



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       80.       Defendants thus infringe one or more claims of the 499 Patent. The elements and

conduct described herein are covered by and infringe upon at least Claim 3 of the 499 Patent.

Thus, Defendant’s use, manufacture, sale, and/or offer for sale of the Accused Instrumentality is

enabled by the system described in the 499 Patent.

       81.       Independent Bank has directly infringed and continues to directly infringe (either

literally or under the doctrine of equivalents) at least Claim 3 of the 499 Patent, in violation of 35

U.S.C. § 271(a), by making, using, importing, offering for sale, and/or selling the Accused

Instrumentality without authority in the United States and will continue to do so unless enjoined

by this Court.

       82.       Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 3 of the 499 Patent, in

violation of 35 U.S.C. § 271(b), by actively inducing the infringement of the 499 Patent by

others and Independent Bank will continue to do so unless enjoined by this Court. Independent

Bank’s deliberate and/or willfully blind actions include, but are not limited to, actively marketing

to, supplying, causing the supply to, encouraging, recruiting, and instructing others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers to use, make available for another’s use, promote, market, distribute, import, sell

and/or offer to sell the Accused Instrumentality. These actions, individually and/or collectively,

have induced and continue to induce the direct infringement of the 499 Patent by others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers. Independent Bank knew and/or was willfully blind to the fact that the induced

parties’ use, making available for another’s use, promotion, marketing, distributing, importing,

selling and/or offering to sell the Accused Instrumentality would infringe the 499 Patent.



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       83.       Independent Bank continues to make, use, make available for another’s use, or

sell or offer to sell, the Accused Instrumentality, and/or continues to induce others such as

consumers, businesses, distributors, agents, sales representatives, account holders, end users and

customers to infringe one or more claims of the 499 Patent.

       84.       Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 3 of the 499 Patent, in

violation of 35 U.S.C. § 271(c), by contributing to the direct infringement of the 499 Patent by

others, such as consumers, businesses, distributors, agents, sales representatives, end-users,

account holders and customers, by offering to sell or selling within the United States the Accused

Instrumentality which is a component of a patented machine, manufacture, combination, or

composition, or a material or apparatus for use in practicing a patented process, constituting a

material part of the invention, knowing the same to be especially made or especially adapted for

use in an infringement of such patent, and not a staple article or commodity of commerce

suitable for substantial non-infringing use.

       85.       Independent Bank has committed these acts of infringement without license or

authorization.

       86.       By engaging in the conduct described herein, Independent Bank has caused injury

to Textile and Textile has been damaged and continues to be damaged as result thereof and

Independent Bank is thus liable to Textile for infringement of the 499 Patent, pursuant to 35

U.S.C. § 271.

       87.       As a direct and proximate result of Independent Bank’s infringement of the 499

Patent, Textile has suffered monetary damages and is entitled to a monetary judgment in an




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amount adequate to compensate Textile for Independent Bank’s past infringement pursuant to 35

U.S.C. § 284, but in no event less than a reasonable royalty, together with interest and costs.

       88.      In addition, the infringing acts and practices of Independent Bank have caused,

are causing, and, unless such acts or practices are enjoined by the Court, will continue to cause

immediate and irreparable harm and damage to Textile for which there is no adequate remedy at

law, and for which Independent Bank is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

As such, Textile is entitled to compensation for any continuing and/or future infringement up

until the date that Independent Bank is finally and permanently enjoined from further

infringement.

       89.      Independent Bank has had actual knowledge of the 499 Patent at least as of the

date when it was notified of the filing of this action. By the time of trial, Independent Bank will

have known and intended (since receiving such notice) that its continued actions would infringe

and actively induce and contribute to the infringement of one or more claims of the 499 Patent.

       90.      Independent Bank has also indirectly and willfully infringed, and continues to

indirectly and willfully infringe, the 499 Patent, as explained further below in the “Additional

Allegations Regarding Infringement” section.

       91.      Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       92.      Textile is entitled to collect pre-filing damages for the full period allowed by law

for infringement of the 499 Patent.




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                                             COUNT IV

                      INFRINGEMENT OF U.S. PATENT NO. 10,148,659

         93.     On December 4, 2018, United States Patent No. 10,148,659 (“the 659 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Authentication System and Method.”

         94.     Textile is the owner of the 659 Patent, with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the 659 Patent

against infringers, and to collect damages for all relevant times.

         95.     Independent Bank offers debit and/or credit cards, such as the Independent Bank

Visa Platinum Card, that are used with a computer-implemented system for a credit or debit

and/or credit card account holder to authorize a resource provider to use a credit card account

number to pay a specific merchant for a specific transaction without transmitting or otherwise

providing the credit or debit and/or credit card account number to the merchant (the “Accused

Instrumentality”). The Independent Bank transaction-specific access authorization system is

implemented, in part, via EMVCo compliant tokens that are used in the transaction instead of the

user’s debit and/or credit card number so that the user’s debit and/or credit card number is never

transmitted or otherwise provided to the merchant thereby preventing the user’s debit and/or

credit card number from being deliberately or unintentionally transferred from the merchant to a

third-party such as through hacking, spoofing, or other man-in-the-middle vulnerabilities. The

requests are initiated by account holders via their smartphones, typically at an NFC (near field

communication) merchant terminal and use those tokens, which are generated and communicated

to the user’s smartphone by the system, and wherein each account held by the user has its own

token.



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(Source: https://www.independent-bank.com/personal/account-services/mobile-wallet.html)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)

       96.     The Accused Instrumentality includes a computer-implemented system for a

credit or debit card account holder to authorize a resource provider to use a credit card account

number to pay a specific merchant for a specific transaction without transmitting or otherwise

providing the credit or debit card account number to the merchant. For example, an Independent

Bank account holder requests Independent Bank to provision a specific Independent Bank debit

and/or credit card for use on his or her mobile device. The account holder can then request for

payment to be made by Independent Bank to a specific merchant in a specific amount for a

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specific transaction from a specific Independent Bank card account of the account holder using

his or her smartphone when near the NFC merchant terminal at a checkout counter. In initiating

the request, the account holder’s smartphone receives certain transaction specific information

from the merchant terminal, which is incorporated into a cryptogram generated by the

smartphone that it transmits to the merchant’s terminal, along with the token value, for

forwarding to a messaging gateway. The merchant also inputs into the request the token value

that was transmitted from the user’s smartphone to the merchant’s terminal using NFC. Thus, the

request messages will include both the transaction specific cryptogram as well as token and

transaction specific information sent that was used in making the cryptogram. At no time is the

debit and/or credit card account number transmitted or otherwise provided to the merchant.

       97.     The Accused Instrumentality includes at least one interface adapted to receive and

transmit data in communication with a credit or debit card account holder’s mobile device, a

merchant’s payment application, or both. For example, the Accused Instrumentality includes an

interface that is programmed to receive and transmit data in communication with an Independent

Bank card account holder’s mobile device, a merchant’s payment terminal software and/or

hardware, or both. The interface is also programmed to receive requests initiated by Independent

Bank card account holders for payment to be made to a specific merchant in a specific amount

for a specific transaction from a specific Independent Bank card account of the account holder.

This interface is either hosted directly by Independent Bank or through an agent with whom

Independent Bank has contracted to receive the messages.

       98.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a first instruction

embodied in a computer readable medium, the first instruction operable to receive registration



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information received from the credit or debit card account holder through the at least one

interface, the registration information comprising a credit or debit card account holder identifier

and at least one credit or debit card account number having an associated unique account

identifier wherein the credit or debit card account number and unique account identifier are not

the same. For example, the Accused Instrumentality includes a server that is programmed to

receive registration information, including the name on the debit and/or credit card and the debit

and/or credit card account number (which has a corresponding token), received from

Independent Bank card account holders through the interface for provisioning a specific

Independent Bank debit and/or credit card for use on their mobile devices. The server is also

programmed to receive requests initiated by Independent Bank card account holders for payment

to be made to a specific merchant in a specific amount for a specific transaction from a specific

Independent Bank card account of the account holder. The server is either hosted directly by

Independent Bank or through an agent with whom Independent Bank has contracted to receive

the messages.

       99.      The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a second

instruction embodied in a computer readable medium, the second instruction operable to receive

an authorization request message to pay the specific merchant for the specific transaction from a

given debit or credit card account, the authorization request message having been received

through the at least one interface and originating from the credit or debit card account holder’s

mobile device and comprising: a first merchant identifier; a first transaction specific information

selected from the group consisting of a first transaction amount and first client reference

identifier; the credit or debit card account holder identifier; and a designated unique account



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identifier selected from the at least one unique account identifiers. For example, the Accused

Instrumentality includes a server that is programmed to receive an authorization request message

having been received through the at least one interface and originating from the Independent

Bank card account holder’s mobile device. The server is programmed to receive authorization

requests initiated by Independent Bank card account holders for payment to be made to a specific

merchant, the request including at least one piece of specific transaction information for a

specific transaction, a token, a merchant identifier, and the Independent Bank card account

holder identifier. The server is either hosted directly by Independent Bank or through an agent

with whom Independent Bank has contracted to receive the messages.

       100.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to generate a first

transaction specific authentication credential associated with the authorization request, whereby

the first transaction specific authentication credential comprises a key string wherein the key

string is not a temporary credit or debit card account number and does not include or reveal the

credit or debit card account number associated with the designated unique account identifier.

For example, the Accused Instrumentality includes a server that is programmed to identify within

the payment authorization request the transaction specific information that was passed by the

merchant, and the server will generate a cryptogram using at least some of that transaction

specific information. The cryptogram is not a temporary credit or debit card account number and

does not include or reveal the credit or debit card account number associated with the token. The

server is either hosted directly by Independent Bank or through an agent with whom Independent

Bank has contracted to receive the messages.



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       101.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to receive a payment

request message from the merchant’s payment application through the at least one interface, the

payment request message comprising: a second merchant identifier; a second transaction specific

information selected from the group consisting of a second transaction amount and second client

reference identifier; and a second transaction specific authentication credential whereby the

second authentication credential was received by the merchant application from the credit or

debit card account holder’s mobile device. For example, the Accused Instrumentality includes a

server that is programmed to receive a payment request message from the merchant’s payment

application through the at least one interface. The payment request message includes a merchant

identifier, a second piece of transaction specific information from a specific transaction, and a

cryptogram that was received by the merchant application from the Independent Bank card

account holder’s mobile device. The server is either hosted directly by Independent Bank or

through an agent with whom Independent Bank has contracted to receive the messages.

       102.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to validate the credit or

debit card account holder’s request to use the credit or debit card account number associated with

the designated unique account identifier for payment to the specific merchant for the specific

transaction and authorizing the resource provider to use the credit or debit card account number

associated with the designated unique account identifier to pay a specific merchant for a specific

transaction without transmitting or otherwise providing the credit or bank account number to the



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specific merchant by determining if: the first merchant identifier matches the second merchant

identifier; the first transaction specific information matches the second transaction specific

information; and the first transaction specific authentication credential matches the second

transaction specific authentication credential. For example, the server attempts to match the

payment request merchant identifier to the authorization request merchant identifier, the payment

request transaction specific information to the authorization request transaction specific

information, and the server generated cryptogram to the cryptogram sent with the payment

request message. If there are matches for all three, the server authenticates the identity of

requestor as the actual account holder. The server is either hosted directly by Independent Bank

or through an agent with whom Independent Bank has contracted to provide the authentication

services.

       103.     Moreover, Plaintiff alleges that each of these elements are present in the Accused

Instrumentality either literally or under the doctrine of equivalents if anywhere determined not to

be literally present. For example, if a function literally claimed to be performed by a given

element, such as a particular server or set of instructions, is conducted in the accused system by

another server or another set of instructions, Plaintiff alleges that this would be an infringement

under the doctrine of equivalents because the two would be substantially the same and would be

performing the same function in the same way to arrive at the same result.

       104.     Defendants thus infringe one or more claims of the 659 Patent. For example, the

elements and conduct described herein are covered by and infringe upon at least Claim 9 of the

659 Patent. Thus, Defendant’s use, manufacture, sale, and/or offer for sale of the Accused

Instrumentality is enabled by the system described in the 659 Patent.




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       105.      Independent Bank has directly infringed and continues to directly infringe (either

literally or under the doctrine of equivalents) at least Claim 9 of the 659 Patent, in violation of 35

U.S.C. § 271(a), by making, using, importing, offering for sale, and/or selling the Accused

Instrumentality without authority in the United States and will continue to do so unless enjoined

by this Court.

       106.      Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 9 of the 659 Patent, in

violation of 35 U.S.C. § 271(b), by actively inducing the infringement of the 659 Patent by

others and Independent Bank will continue to do so unless enjoined by this Court. Independent

Bank’s deliberate and/or willfully blind actions include, but are not limited to, actively marketing

to, supplying, causing the supply to, encouraging, recruiting, and instructing others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers to use, make available for another’s use, promote, market, distribute, import, sell

and/or offer to sell the Accused Instrumentality. These actions, individually and/or collectively,

have induced and continue to induce the direct infringement of the 659 Patent by others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers. Independent Bank knew and/or was willfully blind to the fact that the induced

parties’ use, making available for another’s use, promotion, marketing, distributing, importing,

selling and/or offering to sell the Accused Instrumentality would infringe the 659 Patent.

       107.      Independent Bank continues to make, use, make available for another’s use, or

sell or offer to sell, the Accused Instrumentality, and/or continues to induce others such as

consumers, businesses, distributors, agents, sales representatives, account holders, end users and

customers to infringe one or more claims of the 659 Patent.



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       108.      Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) Claim 9 of the 659 Patent, in violation of 35

U.S.C. § 271(c), by contributing to the direct infringement of the 659 Patent by others, such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers, by offering to sell or selling within the United States the Accused Instrumentality

which is a component of a patented machine, manufacture, combination, or composition, or a

material or apparatus for use in practicing a patented process, constituting a material part of the

invention, knowing the same to be especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       109.      Independent Bank has committed these acts of infringement without license or

authorization.

       110.      By engaging in the conduct described herein, Independent Bank has caused injury

to Textile and Textile has been damaged and continues to be damaged as result thereof and

Independent Bank is thus liable to Textile for infringement of the 659 Patent, pursuant to 35

U.S.C. § 271.

       111.      As a direct and proximate result of Independent Bank’s infringement of the 659

Patent, Textile has suffered monetary damages and is entitled to a monetary judgment in an

amount adequate to compensate Textile for Independent Bank’s past infringement pursuant to 35

U.S.C. § 284, but in no event less than a reasonable royalty, together with interest and costs.

       112.      In addition, the infringing acts and practices of Independent Bank have caused,

are causing, and, unless such acts or practices are enjoined by the Court, will continue to cause

immediate and irreparable harm and damage to Textile for which there is no adequate remedy at



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law, and for which Independent Bank is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

As such, Textile is entitled to compensation for any continuing and/or future infringement up

until the date that Independent Bank is finally and permanently enjoined from further

infringement.

       113.     Independent Bank has had actual knowledge of the 659 Patent at least as of the

date when it was notified of the filing of this action. By the time of trial, Independent Bank will

have known and intended (since receiving such notice) that its continued actions would infringe

and actively induce and contribute to the infringement of one or more claims of the 659 Patent.

       114.     Independent Bank has also indirectly and willfully infringed, and continues to

indirectly and willfully infringe, the 659 Patent, as explained further below in the “Additional

Allegations Regarding Infringement” section.

       115.     Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       116.     Textile is entitled to collect pre-filing damages for the full period allowed by law

for infringement of the 659 Patent.




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                                             COUNT V

                     INFRINGEMENT OF U.S. PATENT NO. 10,560,454

       117.     On February 11, 2020, United States Patent No. 10,560,454 (“the 454 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Authentication System and Method.”

       118.     Textile is the owner of the 454 Patent, with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the 454 Patent

against infringers, and to collect damages for all relevant times.

       119.     Independent Bank offers debit and/or credit cards, such as the Independent Bank

Visa Platinum Card, that are used with a computer-implemented system for a user to authorize a

resource authorize a service client’s access to a secured resource associated with a common

identifier without transmitting or otherwise providing the secured resource’s common identifier

to the service client (the “Accused Instrumentality”). The Independent Bank transaction-specific

access authorization system is implemented, in part, via EMVCo compliant tokens that are used

in the transaction instead of the user’s debit and/or credit card number so that the user’s debit

and/or credit card number is never transmitted or otherwise provided to the merchant thereby

preventing the user’s debit and/or credit card number from being deliberately or unintentionally

transferred from the merchant to a third-party such as through hacking, spoofing, or other man-

in-the-middle vulnerabilities. The requests are initiated by account holders via their

smartphones, typically at an NFC (near field communication) merchant terminal and use those

tokens, which are generated and communicated to the user’s smartphone by the system, and

wherein each account held by the user has its own token.




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(Source: https://www.independent-bank.com/personal/account-services/mobile-wallet.html)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)




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(Source: https://www.uspaymentsforum.org/wp-content/uploads/2019/06/EMV-Payment-

Tokenization-Primer-Lessons-Learned-FINAL-June-2019.pdf)

       120.     The Accused Instrumentality includes a computer-implemented system for a user

to authorize a service client’s access to a secured resource associated with a common identifier

without transmitting or otherwise providing the secured resource’s common identifier to the

service client. For example, an Independent Bank account holder requests Independent Bank to

provision a specific Independent Bank debit and/or credit card for use on his or her mobile

device. The account holder can then request for payment to be made by Independent Bank to a

specific merchant in a specific amount for a specific transaction from a specific Independent

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Bank card account of the account holder using his or her smartphone when near the NFC

merchant terminal at a checkout counter. In initiating the request, the account holder’s

smartphone receives certain transaction specific information from the merchant terminal, which

is incorporated into a cryptogram generated by the smartphone that it transmits to the merchant’s

terminal, along with the token value, for forwarding to a messaging gateway. The merchant also

inputs into the request the token value that was transmitted from the user’s smartphone to the

merchant’s terminal using NFC. Thus, the request messages will include both the transaction

specific cryptogram as well as token and transaction specific information sent that was used in

making the cryptogram. At no time is the debit and/or credit card account number transmitted or

otherwise provided to the merchant.

       121.     The Accused Instrumentality includes at least one interface adapted to receive and

transmit data in communication with a user’s application, a service client’s application, or both.

For example, the Accused Instrumentality includes an interface that is programmed to receive

and transmit data in communication with an Independent Bank card account holder’s mobile

device, a merchant’s payment terminal software and/or hardware, or both. The interface is also

programmed to receive requests initiated by Independent Bank card account holders for payment

to be made to a specific merchant in a specific amount for a specific transaction from a specific

Independent Bank card account of the account holder. This interface is either hosted directly by

Independent Bank or through an agent with whom Independent Bank has contracted to receive

the messages.

       122.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a first instruction

embodied in a computer readable medium, the first instruction operable to receive registration



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information received from the user through the at least one interface, the registration information

comprising a user identifier and at least one secured resource identifier associated with the

common identifier of the secured resource, wherein the common identifier and secured resource

identifier are not the same. For example, the Accused Instrumentality includes a server that is

programmed to receive registration information, including the name on the debit and/or credit

card, the debit and/or credit card account number (which has a corresponding token), and the

CVV number received from Independent Bank card account holders through the interface for

provisioning a specific Independent Bank debit and/or credit card for use on their mobile

devices. The server is also programmed to receive requests initiated by Independent Bank card

account holders for payment to be made to a specific merchant in a specific amount for a specific

transaction from a specific Independent Bank card account of the account holder. The server is

either hosted directly by Independent Bank or through an agent with whom Independent Bank

has contracted to receive the messages.

       123.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a second

instruction embodied in a computer readable medium, the second instruction operable to receive

an authorization request message to authorize access to the secured resource by the service

client, the authorization request message having been received through the at least one interface

from the user’s application and comprising: a first service client identifier; a first transaction

specific information; the user identifier; and a designated secured resource identifier selected

from one of the at least one secured resource identifiers. For example, the Accused

Instrumentality includes a server that is programmed to receive an authorization request message

having been received through the at least one interface and originating from the Independent



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Bank card account holder’s mobile device. The server is programmed to receive authorization

requests initiated by Independent Bank card account holders for payment to be made to a specific

merchant, the request including at least one piece of specific transaction information for a

specific transaction, a token, a CVV number, a merchant identifier, other token information, and

the Independent Bank card account holder identifier. The server is either hosted directly by

Independent Bank or through an agent with whom Independent Bank has contracted to receive

the messages.

       124.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to generate a first

transaction specific authentication credential associated with the authorization request, whereby

the first transaction specific authentication credential comprises a key string and does not include

or reveal the common identifier associated with the designated secured resource identifier. For

example, the Accused Instrumentality includes a server that is programmed to identify within the

payment authorization request the transaction specific information that was passed by the

merchant, and the server will generate a cryptogram using at least some of that transaction

specific information. The cryptogram is not a temporary credit or debit card account number and

does not include or reveal the credit or debit card account number associated with the token. The

server is either hosted directly by Independent Bank or through an agent with whom Independent

Bank has contracted to receive the messages.

       125.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to receive an access



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request message from the service client’s application through the at least one interface, the

payment request message comprising: a second service client identifier; a second transaction

specific information; and a second transaction specific authentication credential whereby the

second transaction specific authentication credential was received by the service client’s

application from the user’s application. For example, the Accused Instrumentality includes a

server that is programmed to receive a payment request message from the merchant’s payment

application through the at least one interface. The payment request message includes a merchant

identifier, a second piece of transaction specific information from a specific transaction, and a

cryptogram that was received by the merchant application from the Independent Bank card

account holder’s mobile device. The server is either hosted directly by Independent Bank or

through an agent with whom Independent Bank has contracted to receive the messages.

       126.     The Accused Instrumentality includes one or more servers in secure

communication with the at least one interface, the one or more servers having a third instruction

embodied in a computer readable medium, the third instruction operable to validate the user’s

request to access the secured resource associated with the designated secured resource identifier

without transmitting or otherwise providing the common identifier of the secured resource to the

service client by determining if: the first service client identifier matches the second service

client identifier; the first transaction specific information matches the second transaction specific

information; and the first transaction specific authentication credential matches the second

transaction specific authentication credential. For example, the server attempts to match the

payment request merchant identifier to the authorization request merchant identifier, the payment

request transaction specific information to the authorization request transaction specific

information, and the server generated cryptogram to the cryptogram sent with the payment



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request message. If there are matches for all three, the server authenticates the identity of

requestor as the actual account holder. The server is either hosted directly by Independent Bank

or through an agent with whom Independent Bank has contracted to provide the authentication

services.

       127.      Moreover, Plaintiff alleges that each of these elements are present in the Accused

Instrumentality either literally or under the doctrine of equivalents if anywhere determined not to

be literally present. For example, if a function literally claimed to be performed by a given

element, such as a particular server or set of instructions, is conducted in the accused system by

another server or another set of instructions, Plaintiff alleges that this would be an infringement

under the doctrine of equivalents because the two would be substantially the same and would be

performing the same function in the same way to arrive at the same result.

       128.      Defendants thus infringe one or more claims of the 454 Patent. For example, the

elements and conduct described herein are covered by and infringe upon at least Claim 8 of the

454 Patent. Thus, Defendant’s use, manufacture, sale, and/or offer for sale of the Accused

Instrumentality is enabled by the system described in the 454 Patent.

       129.      Independent Bank has directly infringed and continues to directly infringe (either

literally or under the doctrine of equivalents) at least Claim 8 of the 454 Patent, in violation of 35

U.S.C. § 271(a), by making, using, importing, offering for sale, and/or selling the Accused

Instrumentality without authority in the United States and will continue to do so unless enjoined

by this Court.

       130.      Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) at least Claim 8 of the 454 Patent, in

violation of 35 U.S.C. § 271(b), by actively inducing the infringement of the 454 Patent by



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others and Independent Bank will continue to do so unless enjoined by this Court. Independent

Bank’s deliberate and/or willfully blind actions include, but are not limited to, actively marketing

to, supplying, causing the supply to, encouraging, recruiting, and instructing others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers to use, make available for another’s use, promote, market, distribute, import, sell

and/or offer to sell the Accused Instrumentality. These actions, individually and/or collectively,

have induced and continue to induce the direct infringement of the 454 Patent by others such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers. Independent Bank knew and/or was willfully blind to the fact that the induced

parties’ use, making available for another’s use, promotion, marketing, distributing, importing,

selling and/or offering to sell the Accused Instrumentality would infringe the 454 Patent.

       131.     Independent Bank continues to make, use, make available for another’s use, or

sell or offer to sell, the Accused Instrumentality, and/or continues to induce others such as

consumers, businesses, distributors, agents, sales representatives, account holders, end users and

customers to infringe one or more claims of the 454 Patent.

       132.     Independent Bank has indirectly infringed and continues to indirectly infringe

(either literally or under the doctrine of equivalents) Claim 8 of the 454 Patent, in violation of 35

U.S.C. § 271(c), by contributing to the direct infringement of the 454 Patent by others, such as

consumers, businesses, distributors, agents, sales representatives, end-users, account holders and

customers, by offering to sell or selling within the United States the Accused Instrumentality

which is a component of a patented machine, manufacture, combination, or composition, or a

material or apparatus for use in practicing a patented process, constituting a material part of the

invention, knowing the same to be especially made or especially adapted for use in an



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infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       133.      Independent Bank has committed these acts of infringement without license or

authorization.

       134.      By engaging in the conduct described herein, Independent Bank has caused injury

to Textile and Textile has been damaged and continues to be damaged as result thereof and

Independent Bank is thus liable to Textile for infringement of the 454 Patent, pursuant to 35

U.S.C. § 271.

       135.      As a direct and proximate result of Independent Bank’s infringement of the 454

Patent, Textile has suffered monetary damages and is entitled to a monetary judgment in an

amount adequate to compensate Textile for Independent Bank’s past infringement pursuant to 35

U.S.C. § 284, but in no event less than a reasonable royalty, together with interest and costs.

       136.      In addition, the infringing acts and practices of Independent Bank have caused,

are causing, and, unless such acts or practices are enjoined by the Court, will continue to cause

immediate and irreparable harm and damage to Textile for which there is no adequate remedy at

law, and for which Independent Bank is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

As such, Textile is entitled to compensation for any continuing and/or future infringement up

until the date that Independent Bank is finally and permanently enjoined from further

infringement.

       137.      Independent Bank has had actual knowledge of the 454 Patent at least as of the

date when it was notified of the filing of this action. By the time of trial, Independent Bank will

have known and intended (since receiving such notice) that its continued actions would infringe

and actively induce and contribute to the infringement of one or more claims of the 454 Patent.



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       138.     Independent Bank has also indirectly and willfully infringed, and continues to

indirectly and willfully infringe, the 454 Patent, as explained further below in the “Additional

Allegations Regarding Infringement” section.

       139.     Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       140.     Textile is entitled to collect pre-filing damages for the full period allowed by law

for infringement of the 454 Patent.

              ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       141.     Independent Bank has also indirectly infringed the 079 Patent, the 802 Patent, the

499 Patent, the 659 Patent, and the 454 Patent by inducing others to directly infringe the 079

Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454 Patent. Independent Bank has

induced the end-users, Independent Bank’s customers, to directly infringe (literally and/or under

the doctrine of equivalents) the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent, and

the 454 Patent by using the Accused Instrumentality.

       142.     Independent Bank took active steps, directly and/or through contractual

relationships with others, with the specific intent to cause them to use the Accused

Instrumentality in a manner that infringes one or more claims of the patents-in-suit, including,

for example, at least Claim 1 of the 079 Patent, Claim 1 of the 802 Patent, Claim 3 of the 499

Patent, Claim 9 of the 659 Patent, and Claim 8 of the 454 Patent.

       143.     Such steps by Independent Bank included, among other things, advising or

directing customers and end-users to use the Accused Instrumentality in an infringing manner;



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advertising and promoting the use of the Accused Instrumentality in an infringing manner;

and/or distributing instructions that guide users to use the Accused Instrumentality in an

infringing manner.

       144.     Independent Bank has performed these steps, which constitute induced

infringement, with the knowledge of the 079 Patent, the 802 Patent, the 499 Patent, the 659

Patent, and the 454 Patent and with the knowledge that the induced acts constitute infringement,

at least since the filing of the Complaint.

       145.     Independent Bank was and is aware that the normal and customary use of the

Accused Instrumentality by Independent Bank’s customers would infringe the 079 Patent, the

802 Patent, the 499 Patent, the 659 Patent, and the 454 Patent. Independent Bank’s inducement is

ongoing.

       146.     Independent Bank directs or controls the use of the Accused Instrumentality

nationwide through its own websites and in its own branches, including in Texas and elsewhere

in the United States, and expects and intends that the Accused Instrumentality will be so used.

       147.     Independent Bank took active steps, directly and/or through contractual

relationships with others, with the specific intent to cause such persons to make or use the

Accused Instrumentality in a manner that infringes one or more claims of the patents-in-suit,

including, for example, at least Claim 1 of the 079 Patent, Claim 1 of the 802 Patent, Claim 3 of

the 499 Patent, Claim 9 of the 659 Patent, and Claim 8 of the 454 Patent.

       148.     Independent Bank performed these steps, which constitute induced infringement,

with the knowledge of the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454

Patent and with the knowledge that the induced acts would constitute infringement.

       149.     Independent Bank’s inducement is ongoing.



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       150.     Independent Bank has also indirectly infringed by contributing to the

infringement of the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454

Patent. Independent Bank has contributed to the direct infringement of the 079 Patent, the 802

Patent, the 499 Patent, the 659 Patent, and the 454 Patent by the end-user of the Accused

Instrumentality.

       151.     The Accused Instrumentality has special features that are specially designed to be

used in an infringing way and that have no substantial uses other than ones that infringe the 079

Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454 Patent, including, for example,

at least Claim 1 of the 079 Patent, Claim 1 of the 802 Patent, Claim 3 of the 499 Patent, Claim 9

of the 659 Patent, and Claim 8 of the 454 Patent.

       152.     As described above, the special features include securely authorizing specific

transactions without providing a credit or debit card number to the merchant used in a manner

that infringes the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454 Patent.

       153.     The special features constitute a material part of the invention of one or more of

the claims of the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent, and the 454 Patent

and are not staple articles of commerce suitable for substantial non-infringing use.

       154.     Independent Bank’s contributory infringement is ongoing.

       155.     Independent Bank’s actions are at least objectively reckless as to the risk of

infringing valid patents and this objective risk was either known or should have been known by

Independent Bank, at least since the filing of the Complaint.

       156.     Independent Bank has had knowledge of the 079 Patent, the 802 Patent, the 499

Patent, the 659 Patent, and the 454 Patent at least since the filing of the Complaint.




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       157.     Independent Bank’s customers have infringed the 079 Patent, the 802 Patent, the

499 Patent, the 659 Patent, and the 454 Patent.

       158.     Independent Bank encouraged its customers’ infringement.

       159.     Independent Bank’s direct and indirect infringement of the 079 Patent, the 802

Patent, the 499 Patent, the 659 Patent, and the 454 Patent is, has been, and/or continues to be

willful, intentional, deliberate, and/or in conscious disregard of Textile’ rights under the patents.

       160.     Textile has been damaged as a result of the infringing conduct by Independent

Bank alleged above. Thus, Independent Bank is liable to Textile in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       Textile hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       Textile requests that the Court find in its favor and against Independent Bank, and that

the Court grant Textile the following relief:

       a.       Judgment that one or more claims of the 079 Patent, the 802 Patent, the 499

Patent, the 659 Patent, and the 454 Patent have been infringed, either literally and/or under the

doctrine of equivalents, by Independent Bank and/or all others acting in concert therewith;

       b.       A permanent injunction enjoining Independent Bank and its officers, directors,

agents, servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others

acting in concert therewith from infringement of the 079 Patent, the 802 Patent, the 499 Patent,

the 659 Patent, and the 454 Patent; or, in the alternative, an award of a reasonable ongoing

royalty for future infringement of the 079 Patent, the 802 Patent, the 499 Patent, the 659 Patent,



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and the 454 Patent by such entities;

       c.      Judgment that Independent Bank account for and pay to Textile all damages to

and costs incurred by Textile because of Independent Bank’s infringing activities and other

conduct complained of herein, including an award of all increased damages to which Textile is

entitled under 35 U.S.C. § 284;

       d.      That Textile be granted pre-judgment and post-judgment interest on the damages

caused by Independent Bank’s infringing activities and other conduct complained of herein;

       e.      That this Court declare this an exceptional case and award Textile its reasonable

attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.      That Textile be granted such other and further relief as the Court may deem just

and proper under the circumstances.

Dated: October 12, 2021                      Respectfully submitted,

                                             /s/ Matthew J. Antonelli
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